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Eastern Division 05 JUL 22 ph w 28

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uNiTEI) sTATES oF AMERICA llth tt~ TN, MCKSON
-vs- Case No. l:01cr10013-001T

GEORGE E. GRAY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 2:00 P.M. before United States Magistrate .Iudge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, 1 l l
South Highland, Jacl<son, TN. Pending this hearing, the defendant shall be held in custody by the
United States l\/larshal and produced for the hearing.

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_ . mm /(_.`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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*lfnot held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(1") are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer’s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justiee, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror. .

AO 470 (8185) Order of Ternporary Detention

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UNITED `sETAT DISTRICT COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 156 in
case 1:01-CR-10013 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Ste. B-S

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Honorable J. Breen
US DISTRICT COURT

